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                    Exhibit 2
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                        AMENDED AND RESTATED CLOSING STATEMENT
                                    (February 21, 2020)

SELLER:                   CONVERGEN ENERGY LLC
BUYER:                    NIANTICVISTA ENERGY LLC
TARGET:                   100% MEMBERSHIP INTEREST OF CONVERGEN ENERGY WI, LLC
PROPERTY:                 Fuel Pellet Company located at 600 Liberty St, Green Bay, WI 54304
CLOSING DATE:             January 31, 2020
****************************************************************************

Purchase Price per Acquisition Agreement                                          $5,450,000.00
      Adjustment to Purchase Price
               Reversal of Hard Deposit Discount                                  300,000.00
               Reversal of Due Diligence Reimbursement                            50,000.00
               Revised Purchase Price                                             $5,800,000.00

Credits to Buyer
       WC Adjustments - per Section 1.2(b)(vi)
               Initial WCA Closing Balance                                        ($300,942.39)
               Modifications of WCA in Selle Fa
                        50% of Latvia Receivable Balance (8/31/19)                175, 401.16
                        Total WCA Modifications in Seller s Favor                 175,401.16
                      Final Closing WCA in Buyer s Favor:                         ($125,541.27)

       Cash Adjustments - per Section
                     Reversal of WEDC Payable                                     19,873.00
                     Reversal of WPS Payable                                      36,042.71
                     Adjustment to Closing Receivables Amount                     37,043.16
                     Total Cash Modifications in Seller s Favor                   $92,958.87

       Additional Credits to Buyer
                      BMO Indebtedness - per Section 1.2(b)(ii)                   (2,552,555.00)
                      Equipment Financing Indebtedness per Section 1.2(b)(ii)     (206,077.24)
                      Capital expenditures per Section 1.2(b)(iii)                (377,850.31)
                      Hard deposit (held by Seller)                               (1,000,000.00)
                      Portion of Purchase Price paid to Seller at Closing         (1,012,575.18)
                      Total Additional Credits to Buyer:                          (5,149,057.73)

               Total Credit to Buyer:                                             [$5,274,598.96]

BALANCE DUE TO SELLER:                                                            $618,359.91

Additional Notes:
               Con ergen Energ WI. LLC ( Target ) actually distributed Closing cash by to Seller in
       an amount equal to 24,599.60
               Seller paid to BMO loan modification closing costs in the amount of $20,000.00
               This Amended and Restated Closing Statement amends, restates and replaces in its
       entirety any prior closing statement relating to this transaction previously signed by Buyer and
       Seller.


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         Buyer and Seller hereby agree that the Closing Adjustments reflected in this document
shall be deemed, without further action, to amend the Acquisition Agreement, dated as of
January 29, 2020, as required, entered into among Seller, Buyer and Target (the Acquisition
Agreement ), to (i) conform to terms of this Amended and Restated Closing Statement and (ii)
the Parties further agree to modify 12.5(b)(i) of the Acquisition Agreement to extend the timing
of the transfer of the Con ergenEnerg .com domain name and the Libra Gro p s se of the
 Con ergen Energ name from si months to 12 months.
         L Anse Warden Electric Compan LLC ( LWEC ) and Target B er hereb agree that
this Closing Adjustments shall be deemed, without further action, to amend the Operations and
Management Services Agreement (the O&M Agreement ), dated as of January 31, 2020,
between Target and LWEC to add Brian Mikkelson as an additional consultant under the O&M
Agreement.
         The Buyer and Seller agree that there will be no further adjustments or changes to this
Amended and Restated Closing Statement after the date hereof, as both Parties have confirmed
that this document is now complete and accurate in all regards.
         By signing this Amended and Restated Closing Statement each Party confirms and
ratifies that the Closing was completed on the Closing Date.
         Other than as expressly modified pursuant to this Amended and Restated Closing
Statement, all of the terms, conditions and other provisions of the Acquisition Agreement and
The O&M Agreement are hereby ratified and confirmed and shall continue to be in full force
and effect in accordance with their respective terms. No reference to this Amended and
Restated Closing Statement need be made in any instrument or document making reference to
the Acquisition Agreement or the O&M Agreement. Any reference to the Acquisition
Agreement or the O&M Agreement, as applicable, in any such instrument or document shall be
deemed a reference to the Acquisition Agreement or the O&M Agreement, as applicable, as
amended hereby. In the event of any conflict or inconsistency between the provisions of the
Acquisition Agreement or the O&M Agreement, as applicable, and the provisions of this
Amended and Restated Closing Statement, the provisions of this Amended and Restated
Closing Statement shall control.
         The parties hereto agree to take such further action as is reasonably necessary to
implement the provisions set forth in this Amended and Restated Closing Statement.
         This Amended and Restated Closing Statement may be signed in any number of
counterparts, all of which taken together shall constitute one and the same instrument. Any
party hereto may enter into this Amendment by signing any such counterpart and a facsimile
signature shall constitute an original for all purposes and each such counterpart shall be as valid
and effectual as if executed as an original.
         No provision of this Amended and Restated Closing Statement may be amended or
modified except by an instrument in writing executed by the each pf the Parties hereto.
         Any action or proceeding seeking to enforce any provision of, or based on any right
arising out of, this Agreement may be brought against any of the parties in the courts of the
State of New York, County of New York, or, if it has or can acquire jurisdiction, in the United
States District Court for the Southern District of New York, and each of the parties consents to
the jurisdiction of such courts (and of the appropriate appellate courts) in any such action or
proceeding and waives any objection to venue laid therein.

                                   (Signatures on Next Page)



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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first above written.



Buyer                                           Seller

NIANTICVISTA ENERGY LLC                         CONVERGEN ENERGY, LLC,
 a Delaware limited liability company           a Delaware limited liability company


    By: ___________________________                 By: ___________________________
    Name: Greg Merle                                Name: Bert Diaz
    Title:                                          Title: Secretary




CONVERGEN ENERGY WI, LLC                        L ANSE WARDEN ELECTRIC
 a Delaware limited liability company           COMPANY, LLC,
                                                a Delaware limited liability company

    By: ___________________________
    Name: Greg Merle                                By: ___________________________
    Title:                                          Name: Bert Diaz
                                                    Title: Secretary




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